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Dede Wi/oa Ce. G4-1b
Lefer Ushorg

WHoeyerahle Judge Us Brody,
Hopefully Tye eeaached you well dvd in good spans,

Fiast and foremost TL would like to ep PLess
My geatitude Foe You Takin é the Kme oot te
Thorey nly REVIEW my CASE, and dedide ow 1,
T bout ey p | fans how much This has meant ‘To Wit
md Family awd Friewds .

: Ms - kody From readin the bit of Laws
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ndictmenst aside From the “qa €) Counst,
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be Setar) UPeENn ENYONE Viensinig ave elements of
each Count,

‘The maw Reason LK am bring w 4 Yhis up is
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T am ‘still bafFled 4s 46 hou Bud why Ms Horn
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the Appeals Court to vet md Siti FuRe ow somelhntc
Yhat X  Kwow othw 4 ahovt” As of Fe day 1 19/23
Case 2:94-cr-00196-AB Document 466 Filed 12/08/23 Page 3 of 4

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